1544 (Rare. 021% CIVIL COVER SHEET

The 2S 44 civil cower sheet and the infirmation contained herein neither replace por supplamort ihe filing asd serviee of pleadings or oiber papers os required by law, mucepl as
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Richard Liabowliz. Liebowitz Law Firm. PLUG. 41 Sunrise Plaza. Suite

 

 

 

 

 

 

 

 

 

 

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INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authoriby For Civil Cower Sheet

The JS 44 civil cover shect and the information contained hercin ncither replaces nor supplements the Clings and service of pleading or other papers as
required. by law, cxecpl as provided by local rubcs of court. This form, approved by the Judicial Conferences of the United States in Scplember 1974, is
required. bor the usc of thee Clerk of Court for the purposs of initiating the civil decket shoot Comsoquently, a civil cower sheet is submitted to the Clerk of
Court For cach civil complaint Gled. The attorney filing a case should complete the Ferm as follows:

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onby the full name or standard abbreviations. [fihe plaintit® or detendant isan official within a perrecemment agency, identify first the aponey and

then the official, giving both name and tithe.

County of Residence. Por cach civil casc Sled, cxocpt U.S. plaintiff cascs, enter the name of the county where the first listed plainttf resides at the
time of filing. In U.S. plainttf cascs, cnber the name of the county in which the first listed defendant resides at the time of filing. (MOTE: In Land
condcmnation cascs, the county of residence of the "defendant" is the location of the tract of land invedecd.)

Attoroeys Enberthe tirm name, address, tclephone number, and atiorey of recerd. [EP there arc scyeral atbomeys. list thom on an. attachment, noting
in this section "(sec attachment".

Jurisdiction. The basis of jurisdiction is scl Porth under Rule Eja), P.R.Cy.P., which requires that jurisdictions be sheen in plowing: Placc an "A"
Lancet the bowes. [Pf there is more than one basis of jurisdiction, procedcnes is given in the order shown below.

United Statcs plaintitf. (1) Jurisdiction based on 28 USC. 1345 and 134E. Suits by agencies and officers of the United States arc included here.
United Statics dchendant. (2) When the plaintift is suing the United Statcs, its officers or agencics, place an "Xt" in this box.

Pederal question. (3) This reters to suits under 2B U.S.C, 1331, where jurisdiction ariscs under ihe Constitution of the Unibed Stabos, an amendment
te ihe Constitution, an actoat Congress ora treaty of the United States. In cases where the U.5. is a party, the U.S. plaintitt or defendant code takes
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Diversity of citimcnship. (45 This ccters to suits under 28 US.C. 1952, where partics are citizens of different stabs. When Box 4 is chocked, the
citimcnship of the different partics must be checked. [Soc Section 1] below? STE: federal question actions take precedeace over diversity
cuMes. |

Residence (citizenship) of Priocipal Parties. Chis scction of the JS 44 is to he completed if diversity of citizenship was indicated abewe. Mark this
saction Cor cach principal party.

Nature of Suit. Placc an "X° in the appropraic bo. Cf there are multiple nature of svit codes associated with the cass. pick the naturc of suit coe
that is most applicable. Click here for Nature of Suit Code Descriptions.

Origin, Placcan"** inone of the scven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be remerred. to the district courts under Tithe 28 U.5.0. Section M41.
Remanded trom Appellabs Court. (3) Chock this box for cases remanded to the district court for further action. Use the dabe of remand as the fling
dtc.

Reinstabed or Reopened. (4) Chock this hee for cascs reinstated of roopened inthe district court. Use the reopening date as the filing dabc.
Transtorred From Another Gistrict. (25 Ror cases transferred under Tithe 26 ULS0C. Section 14040). Do not use this Por within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Chock this box when a multidistricl casc is transferred into the district under authority of Tithe 28 U5.C.
Section 1407.

Multidisirict Litigation —Gireet Pile. (EB) Cheek this bow when a multidistrict cast is fled in the same district as the Blaster MOL docket. PLEASE
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Cause of Action. Report the civil statute directly rclabed bo the cause of action and give a brick description of the causc. Do not cite jurisdictional
statutes ooless diversity. Example: U.S. Civil Statube: 47 USC 359) Brict Qescription: Unauthorized reocption of cable service

Requested ia Complaint. Class Action, Placc an "XX" in this boo if pou arc Cling a class action under Rule 23, P.R.Cy.P.
Demand. On this space enter the actual dollar ameunt being demanded. or indicate other demand, such as a preliminary injunction.
Jury Gemand. Cheek the appropriaic bee bo indicate whether or ned a jury is boing demanded.

Related Cass. This soction of the JS 44 is weed to reference related ponding cases, iPany. [P there are relabed pending casts, insert the docket
numbers and the concspanding judec namcs for such cascs.

Date and Attorney Signature, Date and sign the civil cover sheet.

Case 5:19-cv-00345-FL Document 2 Filed 08/08/19 Page 2 of 2
